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                                 EXHIBIT 1
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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF VIRGINIA
                              CHARLOTTESVILLE DIVISION


   ------------------------------------X
   BABY DOE, A CITIZEN OF AFGHANISTAN     :
   CURRENTLY RESIDING IN NORTH            :                 CIVIL ACTION NO. 3:22-CV-49
   CAROLINA, BY AND THROUGH NEXT          :
   FRIENDS, JOHN AND JANE DOE;AND JOHN :
   AND JANE DOE, CITIZENS OF AFGHANISTAN :
   AND LEGAL GUARDIANS OF BABY DOE,       :
                                          :
        Plaintiffs,                       :
                                          :
   v.                                     :
                                          :
   JOSHUA MAST, STEPHANIE MAST, RICHARD :
   MAST, KIMBERLEY MOTLEY, AND AHMAD :
   OSMANI,                                :
                                          :
        Defendants,                    :
                                        :
   and                                  :
                                        :
   UNITED STATES SECRETARY OF STATE    :
   ANTONY BLINKEN AND UNITED STATES :
   SECRETARY OF DEFENSE GENERAL         :
   LLOYD AUSTIN,                       :
                                       :
        Nominal Defendants.            :

   ------------------------------------X

                                       [PROPOSED] ORDER

          Having considered Plaintiff's Motion, and Memorandum of Law in Support of Motion, to

   Seal Exhibits A and B to the Reply Memorandum in Support of Plaintiffs’ Motion to Show

   Cause Why Defendants Joshua and Stephanie Mast Should Not Be Held In Contempt, and for

   good cause shown, and the requirements of Local Civil Rule 9(b), and the decisions in Ashcraft

   v. Conoco, Inc., 218 F.3d 288 (4th Cir. 2000), In re Knight Publishing Co., 743 F.2d 231 (4th
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   Cir. 1984), and Stone v. Univ. of Maryland, 855 F.2d 178 (4th Cir. 1988) having been met, it is

   hereby ORDERED that Plaintiff's Motion is granted. It is further ORDERED that Exhibits A and

   B to the Reply Memorandum in Support of Plaintiffs’ Motion to Show Cause Why Defendants

   Joshua and Stephanie Mast Should Not Be Held In Contempt thereto is filed under seal.

          It is so ORDERED.


   Charlottesville, Virginia
   Dated: _______________
                                                       ___________________________
                                                       Norman K. Moon
                                                       United States District Judge




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